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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                             SAVANNAH   DIVISION




NAJAM AZMAT,


             Petitioner-Appellant,

vs.                                             Case No. CV417-086
                                                          CR413-028
UNITED STATES OF AMERICA,


             Respondent-Appellee



                                  ORDER


       The judgment in the above-styled action having been affirmed

by the United States Court of Appeals for the Eleventh Circuit,

       IT IS HEREBY ORDERED that the judgment of the United States

Court of Appeals for the Eleventh Circuit is made the judgment of

this Court.


       SO ORDERED, this       /         day of January 2023.




                                    WILLIAM T. MOORE, JR., JUDGE
                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF GEORGIA
